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 1   GREENBERG TRAURIG, LLP
     NINA D. BOYAJIAN (SBN 246415)
 2
     BoyajianN@gtlaw.com
 3   REBEKAH S. GUYON (SBN 291037)
 4
     GuyonR@gtlaw.com
     1840 Century Park East, Suite 1900
 5   Los Angeles, CA 90067-2121
 6
     Telephone: 310-586-7700
     Facsimile: 310-586-7800
 7
 8   Attorneys for Defendant Retreaver, Inc.

 9
10                          UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12                                      WESTERN DIVISION
13
14    ACQUISITION MANAGEMENT, INC.,                CASE NO.: 2:19-cv-06814-DSF-KS
15                       Plaintiff,
                                                   NOTICE OF MOTION AND MOTION
16    vs.                                          TO STRIKE EXHIBITS G AND H TO
                                                   THE FIRST AMENDED
17    RETREAVER, INC., and DOES 1-5,               COMPLAINT, THE DEFAMATION
      inclusive,                                   CLAIM, AND RELATED
18                                                 ALLEGATIONS, PURSUANT TO
                         Defendants.
19                                                 FED. R. CIV. P. 12(F) FOR
                                                   VIOLATIONS OF CALIFORNIA
20                                                 PENAL CODE §§ 632 AND 637;
                                                   MEMORANDUM OF POINTS AND
21
                                                   AUTHORITIES
22
                                                   [Proposed Order filed concurrently]
23
24
                                                   Hearing Date:     December 30, 2019
                                                   Time:             1:30 p.m.
25                                                 Room:             Courtroom 7D
26                                                 Hon. Dale S. Fischer
27
                                                   Action Filed: August 6, 2019
28                                                 FAC Filed: November 11, 2019


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 1                             NOTICE OF MOTION AND MOTION
 2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3          PLEASE TAKE NOTICE that on December 30, 2019, at 1:30 p.m., in Courtroom
 4   7D of the above-captioned Court, located at 350 West 1st Street, Los Angeles, California,
 5   Defendant Retreaver, Inc. (“Retreaver”) will and hereby does respectfully move pursuant
 6   to Fed. R. Civ. P. 12(f) to strike the following from Plaintiff Acquisition Management,
 7   Inc.’s (“Acquisition”) First Amended Complaint (“FAC”):
 8           Exhibit G, which was recorded in violation of California Penal Code section
 9              632;
10           Exhibits G and H, which were both disclosed in violation of California Penal
11              Code section 637;
12           Paragraphs 38-52, 57-65, 72, and 75 of the FAC, which contain allegations that
13              quote from and reference Exhibits G and H; and
14           Acquisition’s Sixth Claim for Relief in the FAC, for Defamation, which is based
15              entirely on Exhibits G and H.
16          This Motion is based on this Notice of Motion and Motion, the Memorandum of
17   Points and Authorities, all pleadings and files in this matter, and upon such other and
18   further oral or documentary evidence as may be presented to the Court at or prior to the
19   hearing on this Motion.
20          This Motion is made following the conference of counsel pursuant to Central
21   District of California Local Rule 7-3. Counsel for the parties met and conferred to discuss
22   the substance of Retreaver’s motion on November 25, 2019. Counsel for Acquisition
23   indicated that he would oppose the Motion.
24   ///

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 1   Dated: December 2, 2019            Respectfully submitted,
 2                                      GREENBERG TRAURIG, LLP
 3

 4
                                      By: /s/ Nina D. Boyajian
                                             Nina D. Boyajian
 5                                           Rebekah S. Guyon
                                       Attorneys for Defendant Retreaver, Inc.
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2                                      I.     INTRODUCTION
 3          Plaintiff Acquisition Management, Inc.’s (“Acquisition”) sixth claim for relief, for
 4   defamation, is based entirely on information gleaned in blatant violation of California’s
 5   Invasion of Privacy Act (“CIPA”), codified at California Penal Code § 630, et seq.1
 6   Acquisition’s defamation claim draws solely from two transcripts of telephone calls,
 7   attached as Exhibits G and H to the First Amended Complaint (“FAC”). But even a
 8   cursory review of the transcripts makes clear that the telephone call transcribed in Exhibit
 9   G was recorded in violation of section 632, and that both Exhibits G and H were disclosed
10   to Acquisition, this Court (and the public at large) in violation of section 637.
11          Acquisition has not alleged—nor can it—that it obtained the consent of any of the
12   parties, much less all of the parties, to record the call, turn it over to third parties, have it
13   transcribed, and then presented to the Court and public. Whatever the method Acquisition
14   used to illicitly obtain these illegal call recordings, Exhibits G and H are inadmissible as
15   violative of CIPA.
16          Acquisition should not be permitted to profit from its misdeeds, and Exhibits G and
17   H, all allegations that quote from or reference these exhibits, and Acquisition’s
18   defamation claim that depends entirely on these exhibits, should be stricken. Striking
19   these exhibits and associated allegations now will conserve judicial resources and “avoid
20   the expenditure of time and money that [will] arise” if Retreaver is forced to litigate the
21   propriety of these illegally obtained and disclosed call transcripts and a claim based solely
22   on these transcripts. See Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970, 973 (9th Cir.
23   2010) (“The function of a 12(f) motion to strike is to avoid the expenditure of time and
24   money that must arise from litigating spurious issues by dispensing with those issues prior
25   to trial.”)
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28   1
            Unless otherwise noted, all statutory references are to California’s Penal Code.
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 1                                   II.     RELEVANT FACTS2
 2          Acquisition filed its FAC on November 11, 2019, which added a claim for
 3   defamation pursuant to California state law. ECF No. 25. Attached to the FAC as Exhibits
 4   G and H are transcripts of two telephone calls, both from July of 2019. Id. at Exs. G and
 5   H. Multiple allegations in the FAC reference Exhibits G and H. See id. at ¶¶ 37-52, 57-59,
 6   62-63, 72, 75. In fact, Acquisition’s defamation claim is based entirely on Exhibits G and
 7   H. Id. at ¶¶ 109-119.
 8          Exhibit G, a July 4, 2019 call, is a sales presentation and demonstration given by
 9   Stan Pavlovsky, a Retreaver employee, to an individual identified as “Oscar,” a purported
10   potential customer associated with an entity he identifies as “HPJ Holdings.” Id. at Ex. G,
11   4:13-14. Exhibit H is a July 11, 2019 call, and a further sales presentation and
12   demonstration, again given by Mr. Pavlovsky to “Oscar”; this time, an individual
13   identified as “Brock” is also on the call. Id. at Ex. H, 2:7-13, 16:16-24. Acquisition itself
14   was allegedly not a party to either of these calls. Acquisition has also not alleged—nor can
15   it—that it obtained the consent of any of the parties, much less all of the parties, to record
16   the call, turn it over to third parties, have it transcribed, and then presented to the Court
17   and public. Furthermore, Acquisition has not alleged how it obtained these call recordings,
18   with one potential explanation being that Acquisition itself eavesdropped on and recorded
19   the calls itself.3
20                                         III.   ARGUMENT
21   A.     Rule 12(f) Standards
22          Rule 12(f) of the Federal Rules of Civil Procedure allows a court to strike “from a
23   pleading an insufficient defense or any redundant, immaterial, impertinent, or scandalous
24
     2
25          The facts relevant to this Motion are summarized here; the concurrently filed
     Motion to Dismiss sets forth the factual background in more detail.
26   3
            Acquisition’s defamation claim is premised on the allegation that “Oscar” is a third
27   party to this lawsuit. While that may or may not be the case (and if it is not, the claim fails
     as a matter of law), Acquisition has not alleged that it obtained Oscar’s consent, nor
28   “Brock’s” consent, and certainly not Mr. Pavlovsky’s consent.
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 1   matter.” Fed. R. Civ. P. 12(f). “The function of a 12(f) motion to strike is to avoid the
 2   expenditure of time and money that must arise from litigating spurious issues by
 3   dispensing with those issues prior to trial.” Whittlestone, 618 F.3d at 973. A district court
 4   enjoys broad discretion to grant a motion to strike. See Vess v. Bank of Am., N.A., No.
 5   10CV920-AJB WVG, 2012 WL 113748, at*12 (S.D. Cal. Jan. 13, 2012) (“[W]hether to
 6   grant a motion to strike is within the broad discretion of the district court.”); Yufa v. Met
 7   One Instruments, Inc., No. 1:08-CV-3016-CL, 2012 WL 7188851, at *2 (D. Or. Dec. 20,
 8   2012) (same) report and recommendation adopted, No. 1:08-CV-3016-CL, 2013 WL
 9   663594 (D. Or. Feb. 21, 2013). A motion to strike is proper “if it will make trial less
10   complicated or eliminate serious risks of prejudice to the moving party, delay, or
11   confusion of the issues.” Taiwan Semiconductor Mfg. Co. v. Tela Innovations, Inc., No.
12   14-CV-00362-BLF, 2014 WL 3705350, at *3 (N.D. Cal. July 24, 2014).
13          Under Rule 12(f), “immaterial matter” has “no essential or important relationship to
14   the claim for relief.” Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), rev’d
15   on other grounds, 510 U.S. 517 (1994). “‘Impertinent’ has been defined as allegations that
16   are not responsive or irrelevant to the issues that arise in the action, and which are
17   inadmissible as evidence.” In re 2TheMart.com, Inc. Securities Litigation, 114 F. Supp. 2d
18   955, 965 (C.D. Cal. 2000).
19          The exhibits, claim, and allegations that Retreaver seeks to strike fall into one or
20   more of the categories proscribed by Rule 12(f), and should thus be stricken from the
21   FAC.
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 1    B.     Exhibits G And H, Acquisition’s Defamation Claim, And Related Allegations
 2           Should Be Stricken As Violative Of The California Invasion Of Privacy Act.4
 3           Exhibits G and H violate CIPA, and they, along with Acquisition’s defamation
 4    claim, and any related allegations, should be stricken. CIPA “protects against intentional,
 5    nonconsensual recording of telephone conversations regardless of the content of the
 6    conversation or the type of telephone involved.” Flanagan v. Flanagan, 27 Cal. 4th 766,
 7    776 (2002). As the California Legislature recognized in enacting CIPA, “invasion of
 8    privacy . . . [is] a serious threat to the free exercise of personal liberties and cannot be
 9    tolerated in a free and civilized society.” Cal. Penal Code § 630. CIPA provides for both
10    criminal and civil liability for violations of its provisions. Cal. Penal Code §§ 632 and 637
11    (providing criminal penalties for surreptitious recording and unauthorized disclosure) and
12    § 637.2 (providing civil liability for CIPA violations).
13           1.        Exhibit G Was Recorded In Violation Of Section 632, And Exhibit G,
14                     Along With All Related Allegations And Claims, Should Be Stricken.
15           Under section 632 of the Penal Code, a party may not, “(1) intentionally, (2)
16    without the consent of all the parties, (3) record[] by means of any electronic amplifying
17    or recording device, (4) a confidential communication.” Thomas v. Costco Wholesale
18    Corp., No. SACV 13-0275-DOC, 2014 WL 819396, at *11 (C.D. Cal. Mar. 3, 2014); Cal.
19    Penal Code § 632(a). Evidence obtained in violation of section 632 is inadmissible in any
20    judicial or other proceeding. Cal. Penal Code § 632(d). Section 632 prohibits the
21    nonconsensual recording of any telephone conversation, “regardless of the content of the
22    conversation or the type of telephone involved.” Flanagan, 27 Cal. 4th at 776.
23
      4
             As set forth in more detail in the concurrently filed Motion to Dismiss, while
24    Retreaver has reason to believe that “Oscar” was not actually in California, Acquisition
25    has alleged that he was representing a “California Entity.” Accordingly, to the extent this
      Court accepts the allegation that Oscar was, in fact, located in California, then California’s
26    Invasion of Privacy Act applies. Valentine v. NebuAd, Inc., 804 F. Supp. 2d 1022, 1028
27    (N.D. Cal. 2011) (applying California Penal Code where California resident secretly
      recorded call with non-California resident); accord Boston v. Clubcorp USA, Inc., No. CV
28    18-3746 PSG (SSX), 2018 WL 6927830, at *4 (C.D. Cal. Sept. 28, 2018) (same).
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 1           The first, second, and third elements are easily met here. First, either Oscar
 2    intentionally recorded the July 4 telephone call with Mr. Pavlovsky, or Acquisition
 3    intentionally eavesdropped on and recorded the call.5 Second, at no point during the call
 4    did Oscar (or Acquisition) seek Retreaver’s Stan Pavlovsky’s permission to record any
 5    part of—or all of—the July 4 call, and nor did Mr. Pavlovsky give any such permission.
 6    Third, the conversation was clearly recorded by some type of device. That the first three
 7    elements are met is prima facie evidence of a violation of section 632 so long as the
 8    conversation was also confidential, and it was. Frio v. Superior Court, 203 Cal. App. 3d
 9    1480, 1488 (Ct. App. 1988), modified (Sept. 22, 1988) (finding nonconsensual,
10    surreptitious recording of the telephone call “constitutes prima facie evidence of violations
11    of section 632 if the communications [recorded] were confidential”).
12           Fourth, the call was a “confidential communication” within the meaning of section
13    632. A “confidential communication” is defined as one in which at least one party to the
14    communication believes that it will be “confined to the parties thereto.” Cal. Penal Code §
15    632(c). Here, the transcript itself supports the strong inference that at least one party to the
16    communication—Mr. Pavlovsky—objectively believed that the communication would be
17    confined to the parties to the call (i.e., himself and Oscar).6 ECF No. 25 Ex. G. For
18    example, Oscar never informed Mr. Pavlovsky that he was recording the entirety of the
19    call. Id. at Ex. G; see also id. at Ex. H. Indeed, at one point, although Mr. Pavlovsky
20    informed Oscar that he was going to start recording of the “demo” portion of the call,
21    Oscar never informed Mr. Pavlovsky that he was already recording the entire telephone
22    call, commencing with his dialing of Retreaver’s phone number and listening to
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24    5
             Indeed, it is far from clear how Acquisition—allegedly not a party to either call—
25    obtained the recordings, with one explanation being that Acquisition itself intentionally
      eavesdropped on and recorded both calls, and thus both Exhibits G and H should be
26    stricken as violative of section 632.
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      6
             As for Exhibit H, Mr. Pavlovsky again clearly objectively believed that the
      communication would be confined to the parties to the call (i.e., himself, Oscar, and
28    Oscar’s alleged CFO, “Brock”). ECF No. 25 Ex. H.
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 1    Retreaver’s Operator before being transferred to Mr. Pavlovsky personally. Id. at Ex. G,
 2    18:20-24; see also id. at Ex. H, 150:9-12. This is sufficient to show a violation of section
 3    632. NEI Contracting and Eng’g, Inc. v. Hanson Aggregates, Inc., No. 12-CV-1685 H
 4    (WMC), 2012 WL 12919147, at *2 (S.D. Cal. Dec. 13, 2012) (finding plaintiff alleged a
 5    violation of section 632 where plaintiff alleged that it did not believe that “‘one-on-one’”
 6    conversations with an employee of another business were being recorded and where other
 7    party to the call did not warn plaintiff that the calls would be recorded). That the
 8    conversation disclosed Retreaver’s proprietary business information and the identify of its
 9    clients further buttresses the inference that Mr. Pavlovsky objectively believed the
10    telephone call would be confidential. E.g., ECF No. 25 Ex. G, 10:4-12, 12:16-21, 13:13-
11    15, 14:9-20, 16:1-16, 22:16-30:19, 33:2-35:24, 36:13-18, 39:11-49:20, 50:12-58:21,
12    59:10-24, 61:14-64:9, 66:13-17; see also Frio, 203 Cal. App. 3d at 1489-90 (finding that
13    sensitive business nature of communications supported objective expectation by one of the
14    parties that communications were “confidential” within meaning of section 632).
15           Exhibit G is facially violative of section 632, is inadmissible in this proceeding, and
16    should thus be stricken. Cal. Penal Code § 632(d); see also In re 2TheMart.com, 114 F.
17    Supp. 2d at 965 (“impertinent” material is “inadmissible as evidence” and should be
18    stricken); see also Fantasy, 984 F.2d at 1528 (striking allegations barred by statute of
19    limitations and res judicata because they couldn’t be offered at trial).7 Furthermore, the
20    derivative claim and all related allegations, which are also inadmissible, should also be
21    stricken. Frio, 203 Cal. App. 3d at 1492-93 (excluding notes of surreptitiously recorded
22    telephone conversations from evidence).
23           Indeed, if this Court does not strike Exhibit G, and the derivative claim and
24    allegations, then Retreaver will be unduly prejudiced and forced to expend considerable
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26    7
            To the extent this Court concludes that Exhibit H was also recorded in violation of
27    section 632—i.e., because of the inference that Acquisition surreptitiously eavesdropped
      on and recorded the July 11 call—then Exhibit H is also inadmissible under section 632(d)
28    and should be stricken for these same reasons.
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 1    resources litigating what is clearly illegally obtained material, while permitting
 2    Acquisition to gain a windfall from its willful violation of California law.
 3           2.        Exhibits G And H Were Disclosed In Violation Of Section 637, And
 4                     Exhibits G And H, Along With All Related Allegations And Claims,
 5                     Should Be Stricken.
 6           Section 637 of the Penal Code provides for liability where a non-party to a
 7    telephonic communication “willfully discloses the contents” of the communication
 8    without authorization from the parties to the communication. Cal. Penal Code § 637. Here,
 9    Exhibits G and H are transcripts of telephone calls between, respectively, Oscar and Mr.
10    Pavlovsky, and Oscar, Brock, and Mr. Pavlovsky. ECF No. 25 Exs. G and H. Nowhere
11    does the FAC allege that Acquisition had permission from the parties to these calls to
12    disclose their contents. As such, Acquisition’s willful disclosure of the contents of the two
13    telephone calls to this Court and the public in general—i.e., by attaching the call
14    transcripts to the FAC—violates section 637. See Elk Grove Answering Serv. v. Hoggatt,
15    No. 2:10-CV-01759, 2010 WL 4723720, at *1, 3 (E.D. Cal. Nov. 15, 2010) (finding
16    plaintiff alleged violation of section 637 where defendants accessed recordings of an
17    employee’s personal calls from the company’s servers and disclosed those recordings to
18    third parties); see also In re Stephenson, 41 F. App’x 936, 937 (9th Cir. 2002) (disclosure
19    of wiretapped call violated section 637).
20           It is axiomatic that illegally obtained evidence is inadmissible. See U.S. v. Whitson,
21    587 F.2d 948, 952-53, n.6 (9th Cir. 1978) (illegally obtained evidence is inadmissible). As
22    such, Exhibits G and H, the derivative claim, and the related allegations should all be
23    stricken. In re 2TheMart.com, 114 F. Supp. 2d at 965 (“impertinent” material is
24    “inadmissible as evidence” and should be stricken); see also Fantasy, 984 F.2d at 1528
25    (striking allegations barred by statute of limitations and res judicata because they couldn’t
26    be offered at trial). Additionally, and as set forth, supra, if Exhibits G and H, the
27    derivative claim, and the related allegations are not stricken, then Retreaver will be
28    prejudiced, while Acquisition will profit from its illegal acts.
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 1                                      IV.    CONCLUSION
 2           For the foregoing reasons, Retreaver respectfully requests that, pursuant to Fed. R.
 3    Civ. P. 12(f), the Court strike Exhibits G and H to the FAC, Acquisition’s claim for
 4    defamation, and the related allegations at paragraphs 38-52, 57-65, 72, 75 of the FAC.
 5

 6
      Dated: December 2, 2019                 Respectfully submitted,
 7
                                              GREENBERG TRAURIG, LLP
 8

 9                                          By: /s/ Nina D. Boyajian
10
                                                   Nina D. Boyajian
                                                   Rebekah S. Guyon
11                                           Attorneys for Defendant Retreaver, Inc.
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